                       Case 1:21-cr-00157-TNM Document 1 Filed 02/13/21 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District of &ROXPELD

                   United States of America                           )
                              v.                                      )
                                                                      )      Case No.
Christian Alexander Secor (AKA: Christian A.Secor)
                                                                      )
                 DOB: XXXXXX                                          )
                                                                      )
                                                                      )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                     January 6, 2021              in the county of                              in the
                          LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

              Code Section                                                     Offense Description
         18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
         18 U.S.C. § 111 (a)(1), § 2- Assaulting, Resisting or Impeding Officers and Aiding and Abetting,
         18 U.S.C. § 231(a)(3), § 2 - Civil Disorder,
         18 U.S.C. 1752 (a)(1) and (2) - Entering and Remaining on Restricted Building or Grounds ,
         40 U.S.C. § 5104(e)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds.


          This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                     Benjamin A. Elliott, Special Agent
                                                                                                Printed name and title
 $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
 E\WHOHSKRQH
                                                                                                            2021.02.13
 Date:             02/13/2021
                                                                                                            09:36:48 -05'00'
                                                                                                   Judge’s signature

 City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                Printed name and title
